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                                     ORDERED.


         Dated: July 19, 2018




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    Jacksonville Division
                                   www.flmb.uscourts.gov

In re:                                          Chapter 11

RMS TITANIC, INC. et al..                       Case No. 3:16-bk-002230-PMG

          Debtors                           /   Jointly Administered

OFFICIAL COMMITTEE OF EQUITY                    Adv. Case No.: 18-ap-00064-PMG
SECURITY HOLDERS OF PREMIER
EXHIBITIONS, INC.,

          Plaintiff,

MARK    A.   SELLERS,    DOUGLAS
BANKER, RICHARD KRANIAK, JACK
H. JACOBS, DAOPING BAO, SELLERS
CAPITAL, LLC, and SELLERS CAPITAL
MASTER FUND, LTD.,

          Defendants.                       /

                     ORDER GRANTING PLAINTIFF’S EX PARTE
               MOTION TO STAY AND SCHEDULE A STATUS CONFERENCE

          THIS MATTER came before the Court without hearing on the Plaintiff’s Ex Parte

Motion to Stay and Schedule a Status Conference on Negative Notice [D.E. 3] (the “Motion”)

filed on June 15, 2018, by Plaintiff, the Official Committee of Equity Security Holders of

Premier Exhibitions, Inc. (the “Equity Committee” or “Plaintiff”), pursuant to Local Rule 7001-
                  Case 3:18-ap-00064-PMG                           Doc 16           Filed 07/19/18                Page 2 of 2



1(k) and Local Rule 2002-4, in conjunction with the negative notice provisions set forth in the

Motion. The Court, having reviewed the docket in the instant case and the Court’s May 25, 2018

Order Granting Emergency Motion of the Official Committee of Equity Security Holders for

Entry of an Order Granting Derivative Standing and Authority to Prosecute and Settle Certain

Claims on Behalf of the Debtors’ Estates (the “Order”) [D.E. 1036 in Case No. 3:16-bk-02230-

PMG (the “Bankruptcy Case”)], does:

           ORDER as follows:

           1.          The Motion is GRANTED.

           2.          This Adversary Proceeding1 is stayed, except that the Equity Committee may:

                       a.         file the instant Motion;

                       b.         effectuate service of initial process in the Adversary
                                  Proceeding; and

                       c.         engage in negotiations to settle the Adversary Proceeding.

           3.          The        Court        shall        hold        a       status      conference            in   this   matter       on

  September 19, 2018 @ 1:30 pm
____________________________________________, on the 4th Floor in Courtroom A, 300

North Hogan Street, Jacksonville, Florida, at which the Court may enter an order scheduling

mediation, trial, and such other matters as the Court deems appropriate.

Attorney Robert P. Charbonneau is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.
Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that all persons appearing in court should dress in business attire
consistent with their financial abilities. Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.

Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and, except
in Orlando, computers into the Courthouse absent a specific order of authorization issued beforehand by the presiding judge. Please take notice
that as an additional security measure a photo ID is required for entry into the Courthouse.

*All references to “debtor” shall include and refer to both debtors in a case filed jointly by two individuals.




1
  All capitalized words shall have the meanings ascribed to them in the Motion unless otherwise defined in this
order.


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